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UNITED sTATEs DISTRICT COUBT§ pin ,_ 9
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Civil Action No. ll-CV-03369-CMA-MTW 1 1 3

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Shannon Crews, d ,_bF_P. cu<

Plaintiff, ',\,\ _ CV ____ §§ say §§ g _CMA_MJW

 

 

V.

Dana Weaver-Osterholtz, M.D., and Parkview Medical Center, Inc. d/b/a Parkview
Medical Center and Parkview West,

Defendants.

 

AMENDED COMPLAINT AND JURY DEMAND

 

The Plaintiff, Shannon Crews, by and through her attorney, James W. Avery, as
her complaint against the Defendant, Dana Weaver-Osterholtz, M.D. and Parkview
Medical Center, Inc., states:

JURISDICTIONAL ALLEGATIONS

l. Plaintiff, Shannon Crews, is a resident of the County of Genessee, State of
Michigan.
2. Defendant, Dana Weaver-Osterholtz, M.D. (hereinafter "Physician"), is a

physician who at all times pertinent hereto was licensed and practiced
medicine in the State of Colorado.

3. Defendant Parkview Medical Center, Inc. (hereinafter "Hospital") is a
Nonprot`lt Corporation organized pursuant to the laws of the State of
Colorado, and engaged in the hospital business in El Paso County, Colorado,
doing business as Parkview Medical Center and Parkview West.

4. The incident which forms the basis for this complaint concerns medical care
and treatment which occurred in the County of El Paso, State of Colorado on
about December 29, 2009 and thereafter.

5. The matter in controversy exceeds, exclusive of interest and costs, the sum
specified by 28 U.S.C. §1332.

6. Venue is proper

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FIRST CLAIM FOR RELIEF
(Malpractice/Negligence/Lack of Inforrned Consent)

Plaintiff hereby incorporates by reference all paragraphs of the Jurisdictional
Allegations as though fully set forth herein.

Plaintiff Shannon Crews submitted to care and treatment by Physician, a
Urologist, on about December 29, 2009, when she was suffering from kidney
obstruction

At all times pertinent hereto, Physician had a duty to provide care and
treatment in accordance with standards of care applicable to Urologists.

Physician undertook surgical care and treatment of the Plaintiff without
adequate consent, and failed to complete the course of treatment, essentially
abandoning her patient.

At all times pertinent hereto, Physician failed to applicable Standards of care
in the treatment provided to Plaintiff, that caused Plaintiff to suffer multiple
complications and hospitalizations, follow up surgery, unnecessary surgery,
convalescence and permanent bodily injury. Said failure to comply with the
applicable standards of care for a Urologist constitutes negligence

As a result of Physician’s negligence, Plaintiff suffered multiple infections,
kidney abscess, and ultimately chronic kidney damage and disease.

As a result of the aforesaid injuries, Plaintiff has suffered and incurred, and is
expected to suffer and incur, past and future medical and rehabilitation
expenses, past and future economic losses other than health care, past and
future non-economic losses, loss of past and future earnings, temporary and
permanent physical impairment, disability and disfigurement, diminishment of
life expectancy, and severe emotional distress.

SECOND CLAIM FOR RELIEF
(Malpractice/Negligence/Respondeat Superior)

Plaintiff hereby incorporates by reference all paragraphs of the Jurisdictional
Allegations and First Claim for Relief as though fully set forth herein.

Defendant Hospital was the employer of various nurses on staff and who were
responsible for communications with physicians on staff of the Hospital, all of
whom were acting within the course and scope of their employment with the
hospital. On or about December 24, 2009, after Plaintiff was admitted to
Hospital, the Hospital, acting by and through its employees, failed to contact

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staff surgeons in a timely manner. Said actions, omissions and conduct
proximately caused Plaintiffs condition to significantly deteriorate. Said
actions and conduct fell below the applicable standard of nursing care,

As a result of the actions, omissions and conduct of the Hospital nurses,
Plaintiff suffered a worsening of her condition, with excruciating pain and
resultant scarring and disability.

As a result of the aforesaid injuries, Plaintiff has suffered and incurred, and is
expected to suffer and incur, past and future medical and rehabilitation
expenses, past and future economic losses other than health care, past and
future non-economic losses, loss of past and future earnings, temporary and
permanent physical impairment, disability and disfigurement, diminishment of
life expectancy, and severe emotional distress.

Hospital is vicariously liable for the actions and conduct of its nurses, and
damages caused by their substandard care,

WHEREFORE, Plaintiff prays forjudgment against the Defendants in an amount

sufficient to compensate Plaintiff for the injuries and damages claimed herein, for
consequential damages, prejudgment interest, litigation costs and expenses, expert
witness fees, and such other and further relief as provided by law and as this Court deems
just and proper.

PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES.

By: s/Jarnes W. Averv
James W. Avery, Esq.

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